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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
vi            Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                  V.                                       )

                                                                                  Case Number: 2:lOcrl5-02-WKW
              KEN DRICK KATRELL THOMAS
                                                                           )      USM Number: 12900-002

                                                                           )       Tiffany Bullard McCord
                                                                                  Defendant's Attorney
THE DEFENDANT:
  'pleaded guilty to count(s)          1-3 of the Indictment on 5/3/2011
   pleaded nob contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended             Count

 18: 37 1                           Conspiracy to Commit an Offense Against the United States                10/26/2009

 18:2119; 18:2                      Motor Vehicle Theft; Aiding and Abetting                                 10/26/2009                2

 18:924(c)(1)(A); 18:2              Use of a Firearm During and in Furtherance of a Crime of                 10/26/2009                3

                                    Violence; Aiding and Abetting



E See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)

   Count(s)                                                D is   Dare dismissed on the motion of the United States.

         It is ordered that the defendant rmst notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution) costs, and special assessments imposed by this judgment are tubly paid. If ordered to pay restitution,
the defendant must noti1i the court and United States attorney of material changes in economic circumstances.

                                                                         July 14, 2011
                                                                           Date of Imposition of Judgment




                                                                         W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                           Name of Judge                             Title of Judge
                        Case 2:10-cr-00015-WKW-TFM Document 208 Filed 07/18/11 Page 2 of 6

AO 245B           (Rev. 09/08) Judgment in a Criminal Case
vi                Sheet 2— Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: KENDRICK KATRELL THOMAS
     CASE NUMBER: 2:lOcrl5-02-WKW


                                                                   IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:

     288 Months. This sentence consists of 60 months as to Count 1 and 180 months as to Count 2 concurrently, and 108
                  months as to Count 3 to run consecutively to the terms imposed in Counts 1 and 2.


             The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where extensive and comprehensive mental health
     treatment and intensive drug treatment is available.


             The defendant is remanded to the custody of the United States Marshal.

         LI The defendant shall surrender to the United States Marshal for this district:

             LI    at                _____________ LI a.m.            I p.m.       on

             LI as notified by the United States Marshal.


         LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             LI before                    on

             LI as notified by the United States Marshal.

             LI as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                       with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                       Case 2:10-cr-00015-WKW-TFM Document 208 Filed 07/18/11 Page 3 of 6

AO 245B            (Rev. 09/08) Judgment in a Criminal Case
vi                 Sheet 3—Supervised Release

                                                                                                                           Judgment Page: 3 of 6
 DEFENDANT: KENDRICK KATRELL THOMAS
 CASE NUMBER: 2:lOcrl5-02-WKW
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

     5 Years. This term consists of 3 years as to Count 1 and 5 years as to Counts 2 and 3 to run concurrently.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, fapplicable.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, !f applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
     E as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)

     E The defendant shall participate in an approved program for domestic violence. (Check, f applicable.)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
             each month;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
     10)     the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcenent officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notiI' third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirmthe
             defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09108) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: KENDRICK KATRELL THOMAS
 CASE NUMBER: 2:lOcrl5-02-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
      nclude testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of any
     treatment based on ability to pay and the availability of third-party payments.

     Defendant shall participate in a mental health treatment program approved by the United States Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AO 245B         (Rev. 09/08) Judgment in a Criminal Case
vi               Sheet 5 - Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 6
     DEFENDANT: KENDRICK KATRELL THOMAS
     CASE NUMBER: 2:lOcrl5-02-WKW
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                         Fine                             Restitution
 TOTALS               $ 300.00                                          $                                  $ $0.00


      J The determination of restitution is deferred until                  . An Amended Judgment in ci Criminal Case (A0245C) will be entered
         after such determination.

        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                         Total Loss*              Restitution Ordered Priority or Percenta2e




 TOTALS                                                                                 $0.00                   $0.00


 E Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         E the interest requirement is waived for the             E fine E restitution.
         E the interest requirement for the              E fine    E restitution is modified as follows:



 * Findings for the total anDunt of losses are required under Chajiers 109A, 110, 11OA, and 113A of Title 18 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                 Case 2:10-cr-00015-WKW-TFM Document 208 Filed 07/18/11 Page 6 of 6

AO 245B       (Rev. 09/08) Judgment in a Criminal Case
vi            Sheet 6 - Schedule of Payments

                                                                                                                       Judgment Page: 6 of 6
 DEFENDANT: KEN DRICK KATRELL THOMAS
 CASE NUMBER: 2:lOcrl5-02-WKW


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of S 300.00                       due immediately, balance due

            EJ not later than __________________________ , or
             J in accordance        fl C, fl D, fl E, or E F below; or
 B E Payment to begin immediately (may be combined with                   fl C,       I D, or      I F below); or

 C    E Payment in equal               _________ (e.g., weekly, monthly, quarterly) installments of S      ______________ over a period of
                           (e.g., months or years), to commence    ___________ (e.g., 30 or 60 days) after the date of this judgment; or

 D E Payment in equal          _________ (e.g., weekly, monthly, quarterly) installments of S  ______________ over a period of
                   (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
     term of supervision; or

 E    E Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    E" Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.
 E The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant's interest in the following property to the United States:
       Hi-Point, model C9, 9mm handgun, bearing serial number P1 333332.



 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
